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UNITED STATES DISTRICT COURT CAMDEN OFFICE
MARTIN LUTHER KING, JR. USPO & Courthouse

William T. Walsh FEDERAL BLD & U.S. COURTHOUSE 401 Market Street
Clerk 50 WALNUT STREET Camden, N.J. 08101

P.O. BOX 419
NEWARK, N.J. 07101-0419 TRENTON OFFICE
402 East State Street
P.O. Box 515

Trenton, N.J. 08603

OFFICE OF THE CLERK i
SUPERIOR COURT OF NEW JERSEY : Date:
ESSEX COUNTY i :
50 West Market Street
Newark, NJ O7102

Re: FAGAN, ETAL V JAFFE,
Your No.ESX-L-7205-07
U.S. District Court No.

Dear Sir/Madam:

Pursuant to Order of Remand entered in above matter, enclosed
please find one Certified copy of Order of Remand and one
Certified copy of docket sheet.

Kindly acknowledge receipt on copy of this letter.

ms Very truly yours,

William T. Walsh, Clerk

~ by: Fane katte ponachs ~

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Deputy Clerk

Enclosure
ec: All counsel/parties

RECEIPT IS ACKNOWLEDGED THIS DAY OF , LOS

